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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

JUSTAN ADAMS,           )
                        )
        Plaintiff,      )
                        )
        v.              )                 1:19-cv-00030-GZS
                        )
EASTERN MAINE HOSPITAL, )
et al.,                 )
                        )
        Defendants.     )


             RECOMMENDED DECISION ON MOTION TO REOPEN
       This matter is before the Court on a filing of Plaintiff Justan Adams, which filing

the Court construed as a second motion to reopen the case. (ECF No. 10). As explained

below, following a review of the pleadings, and after consideration of the filings, I

recommend the Court deny Plaintiff’s motion.

                                       Background

       On January 11, 2019, Plaintiff filed this action against Defendants. (ECF No. 1.)

On January 23, 2019, the Court issued an Order that required Plaintiff to pay the filing file

or file an Application to Proceed In Forma Pauperis by February 6, 2019. (ECF No. 2).

Having received no response from Plaintiff, on February 15, 2019, the Court ordered

Plaintiff to show cause, by March 1, 2019, as to why he had not complied with the Court’s

order. (ECF No. 3.) When Plaintiff failed to comply with the Order to Show Cause, on

March 12, 2019, I recommended that the Court dismiss the matter. (ECF No. 4). The Court

affirmed the Report and Recommended Decision on April 4, 2019 (ECF No. 5), and
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Judgment entered on the same date. (ECF No. 6). Plaintiff filed his first motion to reopen

on May 3, 2019. (ECF No. 7). On May 28, 2019, I recommended the Court deny the

motion. (ECF No. 9.) Plaintiff filed a second motion to reopen on May 28, 2019.

                                         Discussion

       Federal Rule of Civil Procedure 60 governs the Court’s consideration of Plaintiff’s

request for relief from judgment. Rule 60(b) authorizes the Court to relieve a party from a

judgment on the grounds of “(1) mistake, inadvertence, surprise, or excusable neglect, (2)

newly discovered evidence that, with reasonable diligence, could not have been discovered

in time to move for a new trial under Rule 59(b), (3) fraud (whether previously called

intrinsic or extrinsic), misrepresentation, or misconduct by an opposing party, (4) the

judgment is void, (5) the judgment has been satisfied; it is based on an earlier judgment

that has been reversed or vacated; or applying it prospectively is no longer equitable; or (6)

any other reason that justifies relief.” A party must file the motion within a reasonable

time, and for grounds 1 through 3, the party must file the motion within one year of the

judgment. Fed. R. Civ. P. 60(c)(1).

       Plaintiff has not asserted any facts that could reasonably be construed as a mistake,

newly discovered evidence, or fraud as grounds for relief. In addition, Plaintiff has not

argued that the Judgment is void, that the Judgment has been satisfied, or that a related

judgment has been reversed or vacated. Finally, Plaintiff’s contentions do not constitute




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any “other reason that justifies relief.”1 Plaintiff, therefore, has not asserted facts that

would support relief from judgment under Rule 60.

         As Plaintiff’s filing reflects, Plaintiff has recently filed a number of documents in

connection with dismissed cases. (ECF Nos. 10-1 – 10-6.) In addition, within the last two

years, the Court has dismissed three other cases in which Plaintiff has filed motions to

reopen,2 and within the last ten years the Court has dismissed or entered summary judgment

against Plaintiff in more than ten other cases.3 None of Plaintiff’s motions to reopen have

merit. Given Plaintiff’s many filings that lack merit, an order informing Plaintiff that filing

restrictions “may be in the offing” in accordance with Cok v. Family Court of Rhode Island,

985 F.2d 32, 35 (1st Cir. 1993) is warranted.

                                               Conclusion

         Based on the foregoing analysis, I recommend the Court deny Plaintiff’s motion to

reopen the case (ECF No. 10). I also recommend the Court issue an order informing


1
 Examples of “other” reasons justifying relief under Rule 60(b)(6) include “settlement agreements when
one party fails to comply,” “fraud by the party’s own counsel, by a codefendant, or by a third-party witness,”
and, most commonly, failure of the losing party “to receive notice of the entry of judgment in time to file
an appeal.” 11 Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice & Procedure
Civ. § 2864 (3d ed. 2012).
2
 The other cases consist of Justan Adams v. Randy Adams, et al., 1:17-cv-00200-GZS; Justan Adams v.
Penobscot County Jail, 1:18-cv-00446-NT; and, Justan Adams v. Poland Spring Water Co., 2:17-cv-00355-
DBH.
3
  Plaintiff has filed and the Court has dismissed or granted summary judgment against Plaintiff in the
following cases: Justan Adams v. State of Maine, et al., 1:09-cv-00304-JAW; Justan Adams v. State of
Maine, 1:10-cv-00082-JAW; Justan Adams v. Penobscot County Jail Officer, et al., 1:12-cv-00219-NT;
Justan Adams v. David Miller, et al., 1:13-cv-00413-JAW; Justan Adams v. State of Maine, 1:14-cv-00043-
JAW; Justan Adams v. Dennis Townstead, et al., 1:14-cv-00049-JAW; Justan Adams v. Valerie Bragg,
1:14-cv-00063-JAW; Justan Adams v. State of Maine Society Office, et al., 1:14-cv-00064-JAW; Justan
Adams v. State of Maine Co Workers, et al., 1:14-cv-00072-JAW; Justan Adams v. Randy Adams, et al.,
1:17-cv-00200-GZS; Justan Adams v. Penobscot County Jail, 1:18-cv-00446-NT; and Justan Adams v.
Eastern Maine Hospital, et al., 1:19-cv-00030-GZS.

                                                      3
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Plaintiff that filing restrictions “may be in the offing” in accordance with Cok v. Family

Court of Rhode Island, 985 F.2d 32, 35 (1st Cir. 1993).

                                          NOTICE

          A party may file objections to those specified portions of a magistrate
      judge’s report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum within fourteen (14)
      days of being served with a copy thereof. A responsive memorandum shall
      be filed within fourteen (14) days after the filing of the objection.

         Failure to file a timely objection shall constitute a waiver of the right to
      de novo review by the district court and to appeal the district court’s order.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

      Dated this 6th day of June, 2019.




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